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                  IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

 UNITED STATES OF AMERICA,     )        CRIMINAL NO. 07-00615 (07) SOM
                               )
                Plaintiff,     )
                               )        ORDER GRANTING IN PART AND
           vs.                 )        DENYING IN PART DEFENDANT WAYNE
                               )        KILA’S MOTION TO SUPPRESS
 WAYNE KILA,   (07)            )        EVIDENCE
                               )
                Defendant.     )
 _____________________________ )


              ORDER GRANTING IN PART AND DENYING IN PART
          DEFENDANT WAYNE KILA’S MOTION TO SUPPRESS EVIDENCE

 I.         INTRODUCTION.

            Defendant Wayne Kila moves to suppress evidence

 obtained from the search of a white Toyota Celica he was driving

 at the time of his arrest, as well as evidence obtained from his

 residence pursuant to a search warrant issued based on an

 affidavit that cited evidence seized from the vehicle.             Kila

 argues that the search of the vehicle was not incident to arrest.

 Kila also seeks to suppress post-arrest statements that he

 allegedly made without being advised of his Miranda rights.               The

 Government claims that (1) the search of the vehicle was

 contemporaneous with Kila’s arrest; (2) even if the search was

 not contemporaneous with the arrest, the search was valid under

 the automobile exception; (3) the search of the vehicle was a

 valid inventory search pursuant to Drug Enforcement

 Administration (“DEA”) policy; (4) the search of Kila’s home was

 valid because the warrant supported the search even if references
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 to evidence obtained or flowing from the search of the vehicle

 were excluded; and (5) the good-faith exception justified

 reliance on the search warrant.         With regard to Kila’s Miranda

 challenge, the Government argues that, because Kila’s statement

 was spontaneous and voluntary, no Miranda warnings were required.

            The court concludes that (1) the search of Kila’s

 vehicle was incident to arrest; (2) alternatively, probable cause

 supported the warrantless search and seizure of the vehicle under

 the automobile exception; (3) the search warrant of Kila’s

 residence was supported by probable cause even excluding evidence

 obtained from the vehicle; (4) even if the search warrant was not

 supported by probable cause after evidence recovered from the car

 is excluded, the good-faith exception applies to justify reliance

 on the search warrant in searching Kila’s residence; and

 (5) Kila’s post-arrest statements were obtained in violation of

 his Miranda rights.     The court therefore grants in part and

 denies in part Kila’s Motion to Suppress.

 II.          FINDINGS OF FACT.

            This court makes the following findings of fact, by a

 preponderance of the evidence.         The findings are set forth in

 numbered paragraphs for ease of future reference.

              1.   This court has before it four exhibits submitted

 by Kila: (1) a map illustrating the route and distance from

 Kila’s residence in Ewa Beach to the federal building located at


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 300 Ala Moana Boulevard in Honolulu, Hawaii (“Federal Building”)

 (“Ex. 6"); (2) a map documenting the locations of the events that

 occurred on the evening of November 27, 2007 (“Ex. 7");

 (3) Kila’s arrest warrant, issued on November 14, 2007 (“Ex. 8");

 and (4) the Search Warrant for Kila’s residence, dated November

 28, 2007, with its accompanying application and affidavit (“Ex.

 9").

              2.   This court held an evidentiary hearing, during

 which it received oral testimony from Honolulu Police Department

 (“HPD”) Officer Reuben Oh, retired DEA Task Force Officer (“TFO”)

 Joyce Alapa, DEA TFO Lawrence Peralta, and DEA TFO Richard

 Worthington.      This court found Officer Oh and TFO Alapa credible

 on the matters to which they testified.                Cross-examination of TFO

 Peralta and TFO Worthington revealed some discrepancies in some

 of the matters to which they testified, but they appeared to the

 court to be attempting to be truthful and were not only credible

 but also accurate as to most of the matters they testified to.

              3.   On November 14, 2007, a federal grand jury

 indicted Kila for conspiracy to “distribute and possess, with

 intent to distribute, 50 grams or more of methamphetamine.”

 Indictment at 2.        An arrest warrant issued that same day.              Ex. 8.

              4.   On November 26, 2007, TFO Peralta, the lead agent

 in charge of Kila’s arrest, confirmed with the United States

 Postal Service that Kila’s mailing address was in Ewa Beach,


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 Hawaii.   Transcript of Proceedings on the Motion to Suppress

 Evidence (April 15, 2008) (“Tr.”) at 47, 51.                    TFO Peralta also

 verified Kila’s address by comparing it with a copy of Kila’s

 driver’s license.       Id. at 47.      From other investigations and

 Kila’s criminal record, TFO Peralta knew that Kila had had

 multiple drug arrests and prior felony drug convictions.                      Id. 46-

 47.

              5.    On the morning of November 27, 2007, DEA officers

 monitored Kila at his Ewa Beach residence.                    They saw a white

 Toyota Celica parked near his home.              Id. at 49-50.        The vehicle

 was registered to Kila’s girlfriend, Elaine Kina.                    Id. at 50.

              6.    At approximately 9:15 p.m., the white Toyota

 Celica left the house, driven by someone TFO Worthington and his

 partner, relying on photographs of Kila and a physical

 description they had, believed to be Kila.                    TFO Worthington

 reported this to other officers over the radio.                    Id. at 100-01.

 Told by TFO Peralta to follow Kila, TFO Worthington and his

 partner followed the white Toyota Celica onto the Moanalua

 freeway heading eastbound.       Id. at 51, 101.

              7.    All the officers involved in the surveillance were

 in unmarked vehicles.       Because HPD policy requires that arrests

 be made with marked vehicles, TFO Peralta called in marked units

 of the HPD Patrol and Traffic Division to have them stop and

 arrest Kila.      Id. at 51.   Over the police radio, TFO Peralta


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 noted the make, license plate number, and location of the vehicle

 to be pulled over.      Id. at 12, 52.        While calling for HPD

 assistance, TFO Peralta, in a car with TFO Alapa, tried to follow

 Kila, but eventually passed him because he was driving so slowly.

 Id. at 54.

              8.    Two to four minutes after TFO Peralta’s message

 went out over the police radio, Officer Oh saw the vehicle near

 the Ala Kapuna overpass.      Id. at 12.         Officer Oh was driving a

 subsidized vehicle, which is a personal vehicle equipped with a

 blue light on the roof and a siren.            At about 9:20 or 9:25 p.m.,

 Officer Oh pulled over the white Toyota Celica on the Moanalua

 Freeway, east of the Ala Kapuna overpass.              Id. at 13-14.

              9.    Officer Oh told Kila he was being pulled over for

 a traffic offense and asked for Kila’s license, registration, and

 proof of insurance.      Instead of complying, Kila reached for his

 keys and tried to restart the engine.             Officer Oh grabbed Kila’s

 arms.   Kila resisted for a couple of seconds until Lieutenant

 Walter Ozeki arrived.      Lieutenant Ozeki and Officer Oh got Kila

 out of the vehicle, and Lieutenant Ozeki placed Kila under

 arrest.   Id. at 15-16, 19.     Lieutenant Ozeki, who was also the

 Group Supervisor of the task force, had been in contact with TFO

 Peralta and knew of the plans to arrest Kila.                Id. at 88.

              10.    At the time of Kila’s arrest, TFO Peralta and TFO

 Alapa were approximately 100 yards ahead of where Kila was


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 stopped.    Id. at 31.     TFO Peralta learned through the police

 radio that Kila had been pulled over and confirmed the arrest

 himself visually through his rearview mirror.                  Id. at 55.    TFO

 Peralta documented the time of the stop as 9:29 p.m. and the time

 of Kila’s arrest as 9:30 p.m.           Id. at 62.       TFO Peralta pulled

 over to the right shoulder of the highway and reversed his

 vehicle until he was forty to fifty feet in front of the Toyota

 Celica.    Id. at 55-56.

              11.   TFO Peralta and TFO Alapa ran back to where Kila

 had been arrested and saw Lieutenant Ozeki search Kila.                   Id. at

 32-33.    Lieutenant Ozeki handed Kila’s wallet and cell phone to

 TFO Alapa, and TFO Alapa opened the wallet to look for a driver’s

 license.    In the wallet, TFO Alapa found a small plastic ziplock

 bag containing a white crystal-like substance.                  TFO Alapa had

 spent twenty-six years with HPD and eighteen years in drug

 enforcement and believed the white substance was methamphetamine.

 Id. at 34-35.

              12.   TFO Alapa told TFO Peralta about the substance

 found in Kila’s wallet.       Id. at 59.         TFO Peralta has been

 employed by HPD for approximately seventeen and a half years and

 has worked specifically in drug investigations for about six

 years.    Id. at 43.    The substance found on Kila, Kila’s past

 arrests, and Kila’s involvement as a distributor of




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 methamphetamine led TFO Peralta to think that additional drugs

 would be found in the Toyota Celica.             Id. at 59-60.

              13.   TFO Peralta told Kila that he was under arrest

 for conspiracy to possess and distribute methamphetamine and that

 he was facing a life sentence.         TFO Peralta then asked Kila

 whether he wanted to cooperate with law enforcement.                 Kila

 responded that he did not want to cooperate and would “do the

 time.”   Id. at 56-57, 69.     No Miranda warnings were given.              Kila

 was then placed in TFO Peralta’s vehicle to be transported to the

 Federal Building for processing.           Id. at 35.

              14.   TFO Peralta had safety concerns about searching

 the Toyota Celica on the right shoulder of the highway.                 It was

 night, there was, according to Officer Oh, “medium” traffic flow,

 and cars tended to pick up speed when coming to the Ala Kapuna

 overpass.    Id. at 14, 61.    When TFO Worthington arrived at the

 scene, Kila was sitting in TFO Peralta’s vehicle.                TFO

 Worthington saw two or three police cars parked behind the Toyota

 Celica, but only one car had its flashing lights on.                 Id. 110-11.

 TFO Peralta told TFO Worthington to drive the Toyota Celica to

 the Federal Building and to search the vehicle there.                  Id. at 63,

 102, 110-11.

              15.   Approximately ten minutes after Kila’s arrest,

 TFO Alapa and TFO Peralta drove Kila to the Federal Building.

 Id. at 37, 61.     TFO Worthington drove the Toyota Celica to the


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 Federal Building.       Id. at 102, 111.        Although TFO Worthington was

 not entirely clear regarding how long he remained at the scene of

 arrest before leaving in the Toyota Celica, see id. at 102, he

 appeared to recollect having left not long after speaking with

 TFO Peralta, see id. at 102, 111, and after TFO Peralta had left

 the scene, id. at 63.

              16.   It took TFO Worthington around fifteen minutes to

 drive the Toyota Celica about four miles from the Ala Kapuna

 overpass to the Federal Building.             Id. at 63, 103.      TFO

 Worthington made no stops on his way to the Federal Building and

 parked the Toyota Celica in the secure underground parking

 facility at the Federal Building.             Id. at 105-07.      TFO Peralta

 was notified when the Toyota Celica arrived at the Federal

 Building and documented the time of arrival as approximately 9:45

 p.m.   Id. at 62.

              17.   The evidence that Kila left the scene about ten

 minutes after his arrest at 9:30 p.m., the Toyota Celica left

 shortly after Kila left, and it took fifteen minutes to get from

 the Ala Kapuna overpass to the Federal Building, suggests that

 the Toyota Celica may have reached the Federal Building a little

 later than the time noted by TFO Peralta.               Possibly, the car

 arrived around 9:55 p.m.       Even that time was less than half an

 hour from Kila’s arrest.




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              18.   Officer Worthington, along with other DEA

 Officers, searched the Toyota Celica and found a backpack and a

 cellular phone on the passenger seat, and another cellular phone

 on the floor of the passenger seat.              Id. at 104.        The backpack

 contained $34,620 in U.S. currency and three small ziplock bags

 containing a white crystal-like substance.                    Ex. 9 at 31-32.    All

 the items were seized.

              19.   DEA Officers conducted a field test on the

 substance in the bags, which confirmed the presence of

 methamphetamine.        Later laboratory tests also confirmed that the

 bag found on Kila’s body during his arrest contained .19 grams of

 pure methamphetamine.        Id.

              20.   On the afternoon of November 28, 2007, DEA

 Officers obtained a search warrant for Kila’s residence from

 Magistrate Judge Barry Kurren.           Id. at 2.       The application for

 the search warrant included a thirty-three-page affidavit

 detailing the twenty-seven-month investigation into the

 methamphetamine organization with which Kila was allegedly

 involved.    See id.     Less than two pages of the affidavit

 concerned items seized from Kila’s Toyota Celica.                    Id. at 31-32.

              21.   That same day, DEA Officers searched Kila’s home

 pursuant to the search warrant.           They found a bag containing

 $24,723 in U.S. currency, several ziplock plastic bags containing

 a white crystal-like substance, a digital scale, and documents


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 with Kila’s name and his home address.           DEA laboratory tests

 later confirmed that the white substance recovered from the

 ziplock bags was 34.9 grams of actual methamphetamine.

 III.         CONCLUSIONS OF LAW.

              A.    The Search of the Toyota Celica was a
                    Contemporaneous Search Incident To Arrest.

              1.   The Fourth Amendment protects the “right of the

 people to be secure in their persons, houses, papers, and

 effects, against unreasonable searches and seizures.”                See United

 States v. Place, 462 U.S. 696, 701 (1983).               The Fourth Amendment

 generally requires police to secure a warrant before conducting a

 search, California v. Carney, 471 U.S. 386, 390-91 (1985), as

 searches conducted outside the judicial process, without prior

 approval by a judge, are per se unreasonable under the Fourth

 Amendment.    United States v. Ross, 456 U.S. 798, 825 (1982); Katz

 v. United States, 389 U.S. 347, 357 (1967).

              2.   There are a few specifically established and

 well-delineated exceptions to this warrant requirement.                See

 United States v. Ross, 456 U.S. 798, 825 (1982); Katz v. United

 States, 389 U.S. 347, 357 (1967).           A warrantless search of an

 automobile, incident to arrest, is one of those exceptions.

 “[W]hen a policeman has made a lawful custodial arrest of the

 occupants of an automobile he may, as a contemporaneous incident

 of that arrest, search the passenger compartment of that

 automobile.”      New York v. Belton, 453 U.S. 454, 460 (1981); see

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 also United States v. Smith, 389 F.3d 944, 951 (9th Cir. 2004).

 During the search, the police may also examine the contents of

 any container within reach of the arrestee.              Belton, 452 U.S. at

 460.

              3.   The Supreme Court has upheld warrantless searches

 incident to arrest because of the need to remove any weapon that

 might pose a safety concern and the need to prevent the

 concealment or destruction of evidence.           Chimel v. California,

 395 U.S. 752, 763 (1969); see also Smith, 389 F.3d at 951.                The

 Ninth Circuit has concluded, however, that a warrantless

 automobile search incident to arrest “is a bright-line rule that

 may be invoked regardless of whether the arresting officer has an

 actual concern for safety or evidence.”           United States v.

 McLaughlin, 170 F.3d 889, 891 (9th Cir. 1999).             Thus, “the

 applicability of the Belton rule does not depend upon a

 defendant’s ability to grab items in a car but rather upon

 whether the search is roughly contemporaneous with the arrest.”

 Id. at 891-92; see also Smith, 389 F.3d at 1106 (noting that the

 critical inquiry under the Belton rule is whether the search is

 “roughly contemporaneous with the arrest”).

              4.   Kila contends that the warrantless search of the

 Toyota Celica “was not roughly contemporaneous with [his] arrest,

 and was so separated by time and by intervening acts that it

 cannot be characterized as ‘incident to arrest.’” Defendant’s


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 Motion to Suppress Evidence (Feb. 7, 2008) (“Motion”) at 6.                 The

 Government responds that the “short time lag is inherently

 reasonable given the fact the officers needed to move the vehicle

 from the shoulder of the busy Moanalua Freeway to a controlled

 location where it could be safely searched.”               United States of

 America’s Response and Opposition to Defendant Kila’s Motion to

 Suppress Evidence (Feb. 29, 2008) (“Opp’n”) at 5.

              5.   A search may be contemporaneous even if arresting

 officers do not conduct the search immediately after the arrest.

 Smith, 389 F.3d at 951 (“[W]e have held that a search need not be

 conducted immediately upon the heels of an arrest, but sometimes

 may be conducted well after the arrest, so long as it occurs

 during a continuous sequence of events.”).               “[T]ime alone is

 never dispositive of the contemporaneity inquiry.”               United States

 v. Weaver, 433 F.3d 1104, 1107 n.1 (9th Cir. 2006).               “There is no

 fixed outer limit for the number of minutes that may pass between

 an arrest and a valid, warrantless search that is a

 contemporaneous incident of the arrest.”            McLaughlin, 170 F.3d at

 892.

              6.   Rather, a court examining whether a search is

 contemporaneous with an arrest must determine whether the arrest

 and search constituted “one continuous series of events closely

 connected in time,” McLaughlin, 170 F.3d at 893, and whether the

 search was reasonable in light of the circumstances of the


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 arrest.    Smith, 389 F.3d at 951; see also McLaughlin, 170 F.3d at

 893 (“The relevant distinction turns not upon the moment of

 arrest versus the moment of the search but upon whether the

 arrest and search are so separated in time or by intervening acts

 that the latter cannot be said to have been incident to the

 former.”) (quoting United States v. Abdul-Saboor, 85 F.3d 664,

 668 (D.C. Cir. 1996)).

              7.   In McLaughlin, the Ninth Circuit upheld an

 automobile search as incident to arrest when the search took

 place five minutes after the defendant had been arrested and

 taken from the scene.      The police officer filled out impoundment

 forms for the car during that five-minute gap.             McLaughlin, 170

 F.3d at 890.      The court concluded that the “defendant’s arrest,

 the filling out of the impound paperwork, and the search of his

 car were all part of a continuous, uninterrupted course of

 events, all occurring within a relatively brief period of time.”

 Id. at 892.

              8.   Similarly, in Weaver, the Ninth Circuit upheld an

 automobile search as contemporaneous with the arrest when the

 defendant’s automobile was searched ten to fifteen minutes after

 the arrest in an effort to conduct a “safe search.”              Weaver

 involved a “typical procedure” of using three officers to search

 a vehicle.    One officer monitored the suspects, one officer

 searched the car, and one officer observed the search.               To


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 conduct a safe search, two arresting officers delayed the search

 until a third officer arrived.         Weaver, 433 F.3d at 1105-06.         The

 court concluded that the search was contemporaneous with the

 arrest, as “no intervening act occurred between the arrest and

 the search.”      Id. at 1106.

              9.    In United States v. Dento, 382 F.2d 361 (3rd Cir.

 1967), the Third Circuit considered a situation similar to the

 one before this court.      In Dento, police officers arrested the

 defendant on Route 22 but, for reasons of safety, did not search

 the car while it was parked along Route 22.              Instead, the

 officers drove the defendant’s car to the police station and

 searched the car there, approximately twenty minutes after the

 defendant’s arrest.      Id. at 363.        The Third Circuit upheld the

 automobile search as incident to arrest, noting that “[a]lthough

 the place of the search was remote from that of the arrest, the

 safety of the officers and the defendant required that the

 vehicles be moved away from the flow of highway traffic.”               Id. at

 365.

              10.    A longer delay did not destroy the

 contemporaneous nature of a search in United States v. Scott, 428

 F. Supp. 2d 1126, 1132 (E.D. Cal. 2006).            The United States

 District Court for the Eastern District of California concluded

 that a vehicle search conducted fifty minutes after the

 defendant’s arrest was a search incident to arrest, given the


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 safety concerns that caused the delay.           In Scott, the defendant’s

 car had overturned in an accident and was found down an

 embankment.    Safety concerns posed by the vehicle’s position,

 broken glass from the accident, and an unidentified liquid near

 the vehicle led the officers to wait until the car was towed up

 the slope and positioned upright before searching the vehicle.

 Id. at 1130.     Although fifty minutes passed between the

 defendant’s arrest and the search of the car, the court upheld

 the search as contemporaneous with the arrest.             Id. at 1133.

 “When a delay in vehicle search occurs because of a safety

 concern for the officers on the scene, a search will not be

 considered remote from the time of the arrest if the search is

 conducted as soon as possible after the safety concern has been

 eliminated.”     Id. at 1132.

              11.   Of course, some circumstances will cause searches

 not to be contemporaneous with arrests.           For example, the Ninth

 Circuit concluded that an automobile search was not incident to

 arrest when an officer spent forty-five minutes after an arrest

 trying to get the defendant to consent to a search of the car.

 United States v. Vasey, 834 F.2d 782, 787 (9th Cir. 1987).

 Similarly, when officers arrested the defendant, took the

 defendant’s car and defendant to a police station, and searched

 the car only after deciding that the car would be towed from the

 station, the search was deemed not incident to the arrest.


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 United States v. Ramos-Osequera, 120 F.3d 1028, 1036 (9th Cir.

 1997), overruled on other grounds by Apprendi v. New Jersey, 530

 U.S. 466, 489-90 (2000).       In both those cases, the court noted

 that the delay between arrest and search was not part of a

 “continuous, uninterrupted course of events.”              See McLaughlin,

 170 F.3d at 892.

              12.   Whether the search of the Toyota Celica occurred

 fifteen or twenty-five minutes after Kila’s arrest is not

 determinative of this court’s ruling, as time alone is never

 dispositive of the contemporaneity inquiry.              Rather, the court

 focuses on whether the search was part of a continuous series of

 events.

              13.   The court concludes that the search of the Toyota

 Celica was contemporaneous with Kila’s arrest and thus incident

 to the arrest.     This case presents circumstances similar to those

 in McLaughlin and Weaver.       There was no intervening event or

 pause in the decisionmaking process leading to the search of the

 Toyota Celica.     The delay resulted from reasonable safety

 concerns.    Unlike the officers in Ramos-Osequera, the officers

 here did not decide to search Kila’s Toyota Celica only after

 driving the vehicle to the Federal Building.              Rather, TFO Peralta

 decided at the scene of the arrest that the Toyota Celica would

 be searched.     He instructed TFO Worthington to drive the vehicle

 to the Federal Building to ensure a safe search, away from


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 freeway traffic.        Kila’s arrest, the removal of the Toyota Celica

 from a location that posed safety concerns, and the search of the

 vehicle were all part of a continuous series of events similar to

 the events in McLaughlin.

              14. The court is not persuaded by Kila’s arguments

 that a vehicle search could have been conducted safely at the

 location of the stop, or that the vehicle search should have been

 conducted near a closer highway exit rather than at the Federal

 Building.    Kila was arrested at night on a highway with “medium”

 traffic conditions, in an area where cars tended to pick up

 speed.    It was entirely reasonable to conduct the vehicle search

 at another location, especially because a vehicle search could

 reasonably require officers to open all doors and look under

 seats, leaving the officers physically vulnerable to highway

 traffic.    In addition, it was not unreasonable to conduct the

 search at the Federal Building rather than to pull off at a

 nearby exit to conduct the search in an unknown area.                As the

 court in Scott noted, a search is not considered remote from the

 arrest when the delay is caused by safety concerns.               The search

 of the Toyota Celica was incident to Kila’s arrest.




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              B.    Alternatively, The Warrantless Search of the
                    Toyota Celica Was Supported by Probable Cause
                    Under the Automobile Exception.

              1.   Even if the search of the Toyota Celica was not

 incident to Kila’s arrest, the search was valid.              A warrantless

 search of a car is also permitted under the automobile exception

 to the warrant requirement under the Fourth Amendment.               If there

 is probable cause for believing that an automobile contains

 contraband, officers are entitled to search it.             Carroll v.

 United States, 267 U.S. 132, 153-54 (1925); see also Maryland v.

 Dyson, 527 U.S. 465, 467 (1999) (a finding of probable cause that

 a car contains contraband is sufficient to support a warrantless

 search, and there is no separate exigency requirement); United

 States v. Pinela-Hernandez, 262 F.3d 974, 978 (9th Cir. 2001)

 (“police may conduct a warrantless search of a vehicle if they

 have probable cause to believe that it contains contraband”).                A

 search is similarly permitted if there is probable cause to

 believe there is evidence of a crime in the automobile.               Ornelas

 v. United States, 517 U.S. 690, 696 (1996).

              2.   The automobile exception is grounded in two basic

 principles: (1) the mobility of vehicles, and (2) a reduced

 expectation of privacy given the pervasive regulations applicable

 to vehicles.      See Carney, 471 U.S. at 393; Pinela-Hernandez, 262

 F.3d at 978 (“The reasons for this exception are twofold: the

 expectation of privacy in one’s vehicle is less than in one’s


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 home, and the mobility of vehicles necessitates faster action on

 the part of law enforcement officials.”).

              3.   Although the automobile exception may have

 initially grown out of a concern regarding the mobility of

 vehicles, the Supreme Court has been clear that mobility is not a

 requirement in conducting a warrantless automobile search:

             It is thus clear that the justification to
             conduct such a warrantless search does not
             vanish once the car has been immobilized; nor
             does it depend upon a reviewing court’s
             assessment of the likelihood in each
             particular case that the car would have been
             driven away, or that its contents would have
             been tampered with, during the period
             required for the police to obtain a warrant.

 Michigan v. Thomas, 458 U.S. 259, 261 (1982).             See also United

 States v. Henderson, 241 F.3d 638, 649 (9th Cir. 2000)

 (concluding that the automobile exception applies as long as

 there was probable cause to search the car, and that the

 authority to search did not “evanesce” because the car had been

 impounded).

              4.   Whether probable cause exists to justify a

 warrantless search of an automobile must be determined at the

 time of the seizure, rather than at the time of the search.                See

 United States v. Trejo-Zambrano, 582 F.2d 460, 463 (9th Cir.

 1978) (determination of whether probable cause exists for a

 warrantless search is made at the time of the seizure, not at the

 time of the search).      Once there is probable cause to seize a


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 car, a subsequent warrantless search of it is valid.              Henderson,

 241 F.3d at 649; see also United States v. Johnson, 820 F.2d

 1065, 1072 (9th Cir. 1987) (holding that once police have

 lawfully seized an item, a subsequent search of that item may be

 conducted without a warrant).

              5.   “There is no requirement that the warrantless

 search of a vehicle occur contemporaneously with its lawful

 seizure.”    United States v. Johns, 469 U.S. 478, 484 (1985).              The

 Supreme Court has upheld searches that have occurred numerous

 days after the initial seizure when there was “probable cause to

 believe that the [vehicle] contained contraband.”              Id. at 387.

 In Johns, the Supreme Court reversed a Ninth Circuit decision

 holding that a delay in searching packages located in a vehicle

 made the search of those packages unreasonable.             Id.   Because law

 enforcement officials could have lawfully searched the packages

 at the time they were seized from the vehicle, the Supreme Court

 concluded that a three-day delay was not unreasonable and did not

 violate the Fourth Amendment.          In Cooper v. California, 386 U.S.

 58, 58, 61 (1967), the Supreme Court similarly held that a

 warrantless search of a vehicle one week after its initial

 seizure was not unreasonable.

              6.   Probable cause exists “where the known facts and

 circumstances are sufficient to warrant a man of reasonable

 prudence in the belief that contraband or evidence of a crime


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 will be found.”     Ornelas, 517 U.S. at 696.            In determining the

 existence of probable cause, this court examines the totality of

 the circumstances.      See Illinois v. Gates, 462 U.S. 213, 238

 (1983).

              7.   In United States v. Miller, 812 F.2d 1206, 1209

 (9th Cir. 1987), the Ninth Circuit concluded that there was

 probable cause to search a vehicle when the police had knowledge

 that the defendant was a suspected methamphetamine manufacturer,

 there was a strong smell of a substance known to be used in the

 production of methamphetamine coming from the car, and there was

 a handgun and laboratory equipment used in methamphetamine

 production in plain view in the car.          The Ninth Circuit concluded

 that “[t]hese plain view, plain smell observations, added to the

 [police] knowledge that [the defendant] was a suspected

 methamphetamine manufacturer,” established probable cause to

 search the car.     Id. at 1209.

              8.   Similarly, probable cause supported the

 warrantless search of Kila’s Toyota Celica.               At the time of

 Kila’s arrest, TFO Peralta and TFO Alapa were aware of Kila’s

 criminal background, which included multiple drug arrests and two

 prior felony drug convictions.         In addition, a grand jury had

 indicted Kila for conspiracy to distribute methamphetamine.                 Most

 telling, however, was that the search of Kila himself revealed a

 plastic bag containing what TFO Alapa believed to be


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 methamphetamine.        Both TFO Alapa and TFO Peralta testified that,

 based on their years of experience in drug investigations,

 finding drugs on an arrestee is highly indicative that drugs will

 also be found in the arrestee’s vehicle.             Tr. at 35, 57     Given

 the totality of the circumstances, probable cause supported the

 warrantless search and seizure of the Toyota Celica.

              9.    Kila says there was no probable cause to search

 his car, noting that the officers were relying on a criminal

 history that concerned an alleged drug conspiracy in 2005, along

 with drug arrests and convictions that substantially preceded

 2005.    Defendant’s Reply to Government’s Response to Motion to

 Suppress Evidence (Mar. 13, 2008) (“Reply”) at 5.               Kila’s

 argument fails to account for the substance that the officers

 found on Kila on the night of his arrest.

              10.    Kila’s reliance on United States v. Wanless, 882

 F.2d 1459 (9th Cir. 1989), is unavailing.             In Wanless, the police

 searched a car based on suspicions that the defendant was a drug

 user.    The police had not recovered any apparent drugs from the

 defendant’s person before searching the car.              The court concluded

 that evidence of “track marks” on the defendant’s arm, the

 defendant’s comment that he had “shot up” two days earlier, and a

 syringe cap and empty bindle found on the defendant were

 insufficient to establish probable cause that the vehicle

 contained contraband.       Id. at 1466.      The Wanless court


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 specifically noted that the police “did not detect any drug or

 drug-related odors, nor did they see any items that they could

 reasonably believe were controlled substances.”             Id. (internal

 citations omitted).      The circumstances in Kila’s case are clearly

 analogous to those in Miller and distinguishable from those in

 Wanless.

              11.    The court also disagrees with Kila’s contention

 that, once the Toyota Celica was immobilized, the officers were

 required to obtain a search warrant before searching it.               As the

 Supreme Court has made clear, the mobility of a vehicle is not a

 requirement for the automobile exception.            Thomas, 458 U.S. at

 261.   Kila’s motion to suppress evidence seized from the Toyota

 Celica is denied based on the automobile exception.

              C.    Inventory Search.

             Having already determined that the search of the Toyota

 Celia was conducted as a search incident to arrest, or,

 alternatively, that the search was conducted under the automobile

 the exception, the court need not reach the issue of whether the

 search of the Toyota Celica was alternatively a valid inventory

 search.    The court notes that an inventory search would be

 inconsistent with an investigatory search supported by probable

 cause.




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              D.   Probable Cause Supported the Search Warrant.

              1.   Kila also challenges the search of his home,

 arguing that, “[o]nce the illegally seized evidence from Mr.

 Kila’s automobile, and its tainted fruits, are excised from the

 search warrant affidavit,” there was no probable cause supporting

 a search warrant.       Reply at 6.    The court has already concluded

 that the search of the Toyota Celica was a search incident to

 arrest or, alternatively, supported by probable cause under the

 automobile exception to the warrant requirement.              Even assuming

 that the search of the Toyota Celica was invalid and that

 references to evidence obtained from the Toyota Celica must

 therefore be redacted from the application for the search

 warrant, the court concludes that the warrant of Kila’s home was

 supported by probable cause.

              2.   A judge’s issuance of a search warrant is reviewed

 to determine whether “the magistrate had a substantial basis for

 concluding that probable cause existed.           In doubtful cases,

 preference should be given to the validity of the warrant.”

 United States v. Schmidt, 947 F.2d 362, 371 (9th Cir. 1991)

 (internal quotation marks and citations omitted); accord United

 States v. Chavez-Miranda, 306 F.3d 973, 979 (9th Cir. 2002) (“We

 need only find that the issuing magistrate had a substantial

 basis for finding probable cause.”).          Probable cause is

 determined by looking at the totality of the circumstances, and


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 will be found when there is “a fair probability that contraband

 or evidence of a crime will be found.”           United States v. Gil, 58

 F.3d 1414, 1419 (9th Cir. 1995).

              3.   When a search warrant relies on illegally obtained

 evidence, the warrant may still be upheld if probable cause

 exists without inclusion of the tainted evidence.              United States

 v. Giordano, 416 U.S. 505, 555 (1974) (“[T]he inclusion of

 indisputably tainted allegations does not necessarily render the

 resulting warrant invalid.       The ultimate inquiry on a motion to

 suppress evidence seized pursuant to a warrant is not whether the

 underlying affidavit contained allegations based on illegally

 obtained evidence, but whether, putting aside all tainted

 allegations, the independent and lawful information stated in the

 affidavit suffices to show probable cause.”); see also United

 States v. Driver, 776 F.2d 807, 812 (9th Cir. 1985).

              4.   Even excluding the evidence obtained from the

 search of Kila’s Toyota Celica, Magistrate Judge Kurren had a

 “substantial basis” for determining that evidence relating to the

 alleged methamphetamine conspiracy would be found at Kila’s home.

 The application for the search warrant included a thirty-three-

 page affidavit describing a twenty-seven-month investigation of a

 methamphetamine conspiracy in which methamphetamine was purchased

 from distributors in Las Vegas, Nevada, to be sold in Hawaii.

 The affidavit set forth the accounts of numerous cooperating


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 defendants who had personally sold large amounts of

 methamphetamine to Kila over a five-year period.              See Ex. 9 at

 18, 27-29.    Kila allegedly received the methamphetamine by

 sending someone to Las Vegas to retrieve it and by directing

 shipments to an office building located in Honolulu, Hawaii.                Id.

 at 26-27.    One of the cooperating defendants identified Kila from

 a photographic lineup.      Id. at 29.        Based on TFO Peralta’s

 experience and training, he believed that it was a “common

 practice for drug traffickers to store their drug inventory and

 drug-related paraphernalia” and records concerning their drug

 trafficking in their residences.            Id. at 3.    Less than two full

 pages in the application described the items recovered from

 Kila’s Toyota Celica.      Even excluding evidence recovered from the

 Toyota Celica, there was a substantial basis for the Magistrate

 Judge to determine that probable cause supported the issuance of

 the search warrant for Kila’s home.

              E.   Alternatively, The Good-Faith Exception Supports
                   the Search of Kila’s Home.

              1. Even if the warrant authorizing the search of

 Kila’s residence was not supported by probable cause after the

 evidence seized from the Toyota Celica is excluded, the search of

 Kila’s home was sustainable under the good-faith exception set

 forth in United States v. Leon, 468 U.S. 897 (1984).              “[P]hysical

 evidence seized by officers reasonably relying on a warrant

 issued by a detached and neutral magistrate leads to the

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 conclusion that such evidence should be admissible in the

 prosecution’s case in chief.”           Id. at 912; see also United States

 v. Hendricks, 743 F.2d 653, 656 (9th Cir. 1984) (holding that

 “evidence should not be suppressed if the officers’ reliance on

 the warrant was reasonable”).

              2.   The officers searched Kila’s residence only after

 first obtaining a search warrant from Magistrate Judge Kurren.

 Although the good-faith exception is inapplicable when the

 searching officer introduces the tainted evidence in an effort to

 obtain a search warrant, see Vasey, 834 F.2d at 789, no evidence

 was submitted to this court suggesting that TFO Peralta had any

 reason to doubt the validity of the search of the Toyota Celica.

 “In the ordinary case, an officer cannot be expected to question

 the magistrate’s probable-cause determination or his judgment

 that the form of the warrant is technically sufficient.”                Leon,

 468 U.S. at 920.        Even if the search warrant was deficient in

 some respect, the officers relied on the warrant in good faith,

 and their search of Kila’s residence pursuant to a search warrant

 falls under Leon’s good-faith exception.

              F.   Miranda Warnings Were Required Because Kila Was
                   Subjected to Custodial Interrogation.

              1.   Miranda warnings are required whenever a person is

 subject to custodial interrogation.           Interrogation “refers not

 only to express questioning, but also to any words or actions on

 the part of the police that the police should know are reasonably

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 likely to elicit an incriminating response from the suspect.”

 Rhode Island v. Innis, 446 U.S. 291, 301 (1980).               An

 incriminating response is “any response--whether inculpatory or

 exculpatory--that the prosecution may seek to introduce at

 trial.”    Id. at n.5; see also Miranda v. Arizona, 384 U.S. 436,

 476-77 (1966) (clarifying that statements introduced by the

 prosecution solely for impeachment purposes are incriminating).

              2.   Whether custodial questioning constitutes

 custodial interrogation is an objective inquiry, and the

 subjective intent of the police, though relevant, is not

 conclusive.    The focus is on the defendant’s perceptions.              Innis,

 446 U.S. at 301.        Thus, the fact that a question is objective, or

 was not “asked in an attempt to elicit evidence of crime,” is

 insufficient for finding that the questioning is not an

 interrogation.     United States v. Booth, 669 F.2d 1231, 1238 (9th

 Cir. 1981).    “Even a relatively innocuous question may, in light

 of the unusual susceptibility of a particular subject, be

 reasonably likely to elicit an incriminating response.”                Id.

 (citing Innis, 446 U.S. at 302 n.8); see also United States v.

 Henley, 984 F.2d 1040, 1042 (9th Cir. 1993)(“When a police

 officer has reason to know that a suspect’s answer may

 incriminate him, however, even routine questioning may amount to

 interrogation.”).




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              3.   In United States v. Padilla, 387 F.3d 1087, 1093

 (9th Cir. 2004), the Ninth Circuit concluded that a federal

 agent’s statement “to the effect” that it was defendant’s “last

 chance to cooperate” constituted interrogation because “the agent

 should have known that it was reasonably likely that such a

 comment would evoke an incriminating response.”             Id.

              4.   Similarly, in Henley, the Ninth Circuit concluded

 that a fairly innocuous question constituted interrogation given

 the context of the questioning and the content of the question.

 Specifically, when the police officer investigating a bank

 robbery asked the defendant whether he was the owner of the

 getaway car, the police officer was “reasonably likely to elicit

 an incriminating answer.”       Id. at 1043; see also Booth, 669 F.2d

 at 1238 (routine questions regarding whether the defendant had a

 prior arrest record and defendant’s reason for being in the area

 constituted interrogation under the circumstances).

              5.   The Government does not dispute that Kila was in

 custody, arguing only that Kila was not subject to custodial

 interrogation.     United States of America’s Amended Response and

 Opposition to Defendant Kila’s Motion to Suppress Evidence (Mar.

 10, 2008) (“Amended Opp’n”) at 2.           The Government claims that

 because TFO Peralta’s questioning was not designed to elicit an

 incriminating response, Kila was not subjected to custodial

 interrogation.     The court disagrees.


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              6.   TFO Peralta’s subjective intent is not dispositive

 in this court’s analysis, as the court is primarily concerned

 with whether the questioning was reasonably likely to elicit an

 incriminating response from Kila.           Although TFO Peralta claims to

 have only been looking for a “yes” or “no” response from Kila,

 the circumstances of the situation may have made Kila especially

 susceptible to giving an incriminating response.              Kila had just

 been arrested and placed in handcuffs, and he was being asked

 whether he wanted to cooperate in the investigation of a drug

 conspiracy that he was being arrested for and for which he was

 told he could be sentenced to life in prison.             The court finds

 the questioning in this case similar to that in Padilla, in which

 the Ninth Circuit noted that, with regard to the Government

 statements, “It is difficult to imagine any purpose fo such a

 statement other than to elicit a[n incriminating] response.”

 Padilla, 387 F.3d at 1093.       Given the circumstances of the

 questioning, the court similarly concludes that the questions and

 statements made by TFO Peralta were likely to elicit an

 incriminating response from Kila.           Because Kila was subjected to

 custodial interrogation without being advised of his Miranda

 rights, Kila’s post-arrest statements are suppressed.

 IV.         CONCLUSION.

             For the foregoing reasons, Kila’s motion to suppress is

 granted in part and denied in part.          The court suppresses Kila’s


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 post-arrest statements, but declines to suppress the evidence

 recovered from the search of the Toyota Celica or Kila’s

 residence.    This order also disposes of the Government’s separate

 motion regarding use of what it refers to as “Rule 404(b)”

 evidence concerning Kila.       As the purported “Rule 404(b)

 evidence” is the evidence at issue on the present motion to

 suppress, that “Rule 404(b) evidence” is not inadmissible at

 trial.



             IT IS SO ORDERED.

             DATED: Honolulu, Hawaii, May 8, 2008.




                                /s/ Susan Oki Mollway
                               Susan Oki Mollway
                               United States District Judge




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